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  13
                         UNITED STATES DISTRICT COURT
  14                    CENTRAL DISTRICT OF CALIFORNIA
  15
       TABITHA SPERRING, PAISLIE          Case No. 5:19-cv-00433-AB-SHK
  16   MARCHANT, and SALLY
       POSTON, individually and on behalf Assigned to Hon. Andre Birotte Jr.,
  17   of similarly situated persons,     Ctrm 7B
  18
                         Plaintiffs,       PLAINTIFFS’ NOTICE OF
  19                                       MOTION AND MOTION FOR
  20         v.                            AN ORDER DISMISSING THE
                                           ACTION WITH PREJUDICE
  21   LLR, INC., a Wyoming corporation;   UNDER FED. RULES. CIV.
       LULAROE, LLC, a California          PROC. § 41(a)(2)
  22   limited liability company; LENNON
  23   LEASING, LLC, a Wyoming limited Date:           September 27, 2019
       liability company; MARK A.        Time:         10:00 a.m.
  24   STIDHAM, an individual; DEANNE Ctrm:            7B
  25   S. BRADY a/k/a DEANNE
       STIDHAM, an individual; and DOES
  26   1-30, inclusive,
                           Defendants.
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                  MOTION FOR AN ORDER DISMISSING ACTION WITH PREJUDICE
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   1         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2         PLEASE TAKE NOTICE that on September 27, 2019, at 10:00 a.m., or as
   3   soon thereafter as counsel may be heard in Department 7B of the above-entitled
   4   court, located at 350 West First Street, Los Angeles, California 90012, Plaintiffs
   5   Tabitha Sperring, Paislie Marchant, and Sally Poston (collectively, “Plaintiffs”)
   6   will, and hereby do, move the court to grant Plaintiffs’ request for a voluntary
   7   dismissal with prejudice under Fed. R. Civ. P. 41(a)(2) so that Plaintiffs can
   8   immediately appeal the Court’s July 23, 2019 Order granting Defendants’ Motion
   9   to Compel Arbitration (“Order”).
  10         Plaintiffs make this motion under Fed. R. Civ. P. 41(a)(2).
  11         This motion is made following the conference of counsel pursuant to Local
  12   Rule 7-3, which took place on August 13, 2019.
  13         Plaintiffs’ motion is based on this Notice of Motion and Motion, the attached
  14   Memorandum of Points and Authorities, the pleadings and papers on file in this
  15   action, and on such other and further argument and evidence as the Court may
  16   properly receive.
  17
  18   Dated: August 29, 2019                FOLEY BEZEK BEHLE & CURTIS, LLP
  19
                                             By: /s/ Kevin D. Gamarnik
  20                                           KEVIN D. GAMARNIK
                                               AARON L. ARNDT
  21
                                               JORDAN A. LIEBMAN
  22                                           Attorneys for Plaintiffs
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                 MOTION FOR AN ORDER DISMISSING ACTION WITH PREJUDICE
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   1                 MEMORANDUM OF POINTS AND AUTHORITIES
   2          This case concerns a putative class action where former and current
   3   LuLaRoe Consultants are alleging, among other things, that Defendants1 operate
   4   and promote an illegal pyramid scheme, violated state securities laws, and violated
   5   other statutes arising from allegedly fraudulent conduct.
   6          On or about July 23, 2019, the Court granted Defendants’ Motion to Compel
   7   Arbitration, staying the action (“Order”).
   8          In Plaintiffs’ view, the Order has so damaged their case that seeing their
   9   cases through the arbitration process would be a waste of resources for Plaintiffs.
  10   Among other things, arbitrating their claims will not be economically feasible and,
  11   in Plaintiffs’ view, the arbitration forum, waivers, and procedures mandated by the
  12   arbitration provision at issue are biased against Plaintiffs. Additionally, Plaintiffs
  13   wish to prosecute their claims on a class-wide basis and believe that the Order is
  14   fatal to such an action.
  15          Consequently, in order for Plaintiffs to seek immediate appellate review of
  16   the Order, Plaintiffs request that the Court grant their request for a voluntary
  17   dismissal with prejudice under Fed. R. Civ. P. 41(a)(2). See Omstead v. Dell, Inc.,
  18   594 F.3d 1081 (9th Cir. 2010) (providing that “a plaintiff that deems an
  19   interlocutory ruling to be so prejudicial as to deserve immediate review … has the
  20   alternative of dismissing the complaint voluntarily [with prejudice]” by obtaining
  21   an order under Fed. R. Civ. P. 41(a)(2); see also John's Insulation v. L. Addison &
  22   Assocs. 156 F.3d 101, 107 (1st Cir. 1998).
  23   ///
  24   ///
  25   ///
  26   1
        The term “Defendants” collectively refers to LLR, Inc., LuLaRoe, LLC, Lennon
  27   Leasing, LLC, Mark A. Stidham and Deanne S. Brady (a/k/a DeAnne Stidham).
       The term “Plaintiffs” collectively refers to Tabitha Sperring, Paislie Marchant, and
  28
       Sally Poston.
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                   MOTION FOR AN ORDER DISMISSING ACTION WITH PREJUDICE
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   1   Dated: August 29, 2019            FOLEY BEZEK BEHLE & CURTIS, LLP
   2
                                         By: /s/ Kevin D. Gamarnik
   3                                       KEVIN D. GAMARNIK
   4
                                           AARON L. ARNDT
                                           JORDAN A. LIEBMAN
   5                                       Attorneys for Plaintiffs
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                MOTION FOR AN ORDER DISMISSING ACTION WITH PREJUDICE
